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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

IMPLICIT, LLC,                                       §
                                                     §
                 Plaintiff,                          §
                                                     §
v.                                                   §   CIVIL ACTION NO. 2:18-CV-00053-JRG
                                                     §
NETSCOUT SYSTEMS, INC.,                              §
                                                     §
                 Defendant.                          §
                                                     §

                                       FINAL JUDGMENT

        A jury trial commenced in this case on December 9, 2019 and on December 13, 2019, the

jury returned its unanimous verdict finding that Defendant NetScout Systems, Inc. (“NetScout”)

did not infringe Claims 1 and 10 of U.S. Patent No. 8,694,683 (the “’683 Patent”); Claim 1 of U.S.

Patent No. 9,270,790 (the “’790 Patent”); and Claims 1, 3, and 4 of U.S. Patent No. 9,591,104 (the

“’104 Patent”). (Dkt. No. 222.)

        Pursuant to Rule 58 of the Federal Rules of Civil Procedure, and in accordance with the

jury’s unanimous verdict and the entirety of the record, the Court hereby ORDERS and ENTERS

JUDGMENT as follows:

     1. NetScout did not infringe Claims 1 and 10 of the ’683 Patent;

     2. NetScout did not infringe Claim 1 of the ’790 Patent;

     3. NetScout did not infringe Claims 1, 3, and 4 of the ’104 Patent;

     4. Pursuant to Federal Rule of Civil Procedure 54(d), Local Rule CV-54, and 28 U.S.C.

        § 1920, NetScout is the prevailing party in this case and shall recover its costs from Plaintiff

        Implicit, LLC; and further

     5. All other relief requested by either party and not specifically awarded is DENIED.
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       All other requests for relief regarding the above-captioned case, including pursuant to 35

U.S.C. § 285, shall be filed within 28 days of this Judgment. The Clerk of the Court is directed to

CLOSE the above-referenced case.

      So ORDERED and SIGNED this 13th day of December, 2019.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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